Case 1:17-cv-04540-RLM-MJD Document 60 Filed 08/20/18 Page 1 of 2 PageID #: 462



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 MICHAEL REILLEY, JR.,                                )
 MICHAEL REILLEY, SR.,                                )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )       No. 1:17-cv-04540-RLM-MJD
                                                      )
 BUTLER UNIVERSITY,                                   )
 STACIE COLSTON PATTERSON,                            )
 MARTHA DZIWLIK,                                      )
                                                      )
                               Defendants.            )

     ORDER DIRECTING FILING OF DOCUMENTS AUTHORIZING DISMISSAL

        The Court has been advised by counsel that a settlement has been reached in this action.

 Therefore, all pending motions, if any, are now DENIED AS MOOT and all previously ordered

 dates relating to discovery, filings, schedules, conferences, and trial, if any, are VACATED.

        Within thirty (30) days of the date of this entry, counsel for the Plaintiff shall file a

 motion to dismiss this cause and submit an order for the Court’s signature ordering the dismissal

 of this action or a stipulation of dismissal (consistent with the agreement of the parties).

 Additional time to complete the execution of the settlement documents may be granted for good

 cause shown, if requested in writing before expiration of this period.

        SO ORDERED.



        Dated: 20 AUG 2018
Case 1:17-cv-04540-RLM-MJD Document 60 Filed 08/20/18 Page 2 of 2 PageID #: 463



 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record
 via email generated by the Court’s ECF system.
